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 8                                  UNITED STATES DISTRICT COURT

 9                       FOR THE EASTERN DISTRICT OF CALIFORNIA

10

11    UNITED STATES OF AMERICA,                   Case No. 1:18-cr-00197-DAD-BAM
12                     Plaintiff,
13           v.                                   ORDER OF RELEASE
14    ENRIQUE ALVAREZ-VALLE,
15                     Defendant.
16

17         The above named defendant having been sentenced on February 10, 2020 to TIME

18   SERVED,

19         IT IS HEREBY ORDERED that the defendant shall be released FORTHWITH. A
20   judgment and commitment order will follow.
21   IT IS SO ORDERED.
22
        Dated:    February 10, 2020
23                                                UNITED STATES DISTRICT JUDGE
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